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                             EXHIBIT A
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Certificate ofRegistration
                   This Certificate issued under the seal ofthe Copyright
                   Office in accordance with title 17, United States Code,
                   attests that registration has been made for the work
                   identified below. The information on this certificate has
                   been made a part ofthe Copyright Office records.
                                                                                      Registration Number:
                                                                                     VAu 996-688
                             tigiA gi&Lo                                                Effective date of
                   Registe f Copyrights,United States ofAmerica                           registration:
                                                                                          June 9,2008




   Title
                      Title of Work: INS-7003
                   Nature of Work: Jewelry Design
   Completion/ Publication
               Year ofCompletion: 2008

   Author
                           Author: Barry Nisguretsky
                   Author Created: Jewelry design

               Work made for hire: No
                         Citizen of: United States
                        Year Born: 1966
                      Anonymous: No                                            Pseudonymous: No

   Copyright claimant
              Copyright Claimant: Barry Nisguretsky
                                     do Verragio, 132 W.36th St,8th Floor, New York,NY 10018


   Limitation of copyright claim
              Previously registered: No

   Certification
                            Name: Barry Nisguretsky
                              Date: June 12,2008




                                                                                       EXHIBIT,A
                                                                                       PAGE                  Page 1 of 1
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                             EXHIBIT B
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                                                                    EXHIBIT___22_
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                             EXHIBIT C
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                          EXHIBIT D
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                                                                                      Case 8:15-cv-00688-CJC-DFM Document 21-3 Filed 07/01/15 Page 12 of 12 Page ID
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                                                                                 1                                   CERTIFICATE OF SERVICE
                                                                                 2
                                                                                               I certify that on July 1, 2015, a true and correct copy of the foregoing was filed
                                                                                 3
                                                                                       with the Court and served electronically.          The Notice of Electronic Case Filing
                                                                                 4
                                                                                       automatically generated by the system and sent to all parties entitled to service under the
                                                                                 5
                                                                                       Federal Rules of Civil Procedure and the Local Rules of the Central District of California
                                                                                 6
                                                                                       who have consented to electronic service shall constitute service of the filed document to
                                                                                 7
                                                                                       all such parties.
                                                                                 8
                                                                                               I further certify that the following party was served byU.S. Mail:
                                                                                 9
                                                                                 10                                       Kieu Hanh Jewelry
                                                                                                                      9131 Bolsa Avenue, Suite 203
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11
                                                                                                                        Westminster, CA 92683
                                                                                 12
                                                                                               I declare that I am employed by a member of the bar of this Court, at whose
                                                                                 13
TUCKER ELLIS LLP




                                                                                       direction this service was made.
                                                                                 14
                                                                                               Executed on July 1, 2015 at Los Angeles, California.
                                                                                 15
                                                                                                                                            /s/Susan Lovelace
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                                                                                         DECLARATION OF BARRY NISGURETSKY IN SUPPORT OF APPLICATION FOR DEFAULT JUDGMENT BY
                                                                                                                               COURT
                                                                                       1084163.1
